            Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 1 of 38




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------------------------J(
PATRICIA CUMMINGS,

                                               Plaintiff,                                     Docket No.
                                                                                              19-cv-07723 (CM) (OTW)
                       -against-

  THE CITY OF NEW YORK; NEW YORK CITY DEPARTMENT
  OF EDUCATION; CITY OF NEW YORK OFFICE OF SPECIAL
  INVESTIGATIONS; NYC MAYOR BILL de BLASIO; GIULIA COJ(;
  COURTNEY WARE; BEN CHAPMAN; NEW YORK DAILY NEWS;
  DR. ANDRE PERRY; THE HECHINGER REPORT a/k/a HECHINGER
  INSTITUTE ON EDUCATION AND THE MEDIA; LENARD LARRY
. McKELVEY alk/a CHARLAMAGNE THA GOD; WWPR-FM
  (105.1 MHZ); iHEARTMEDIA; CLEAR CHANNEL
  COMMUNICATIONS, INC.; NEW YORK STATE SENATOR,
  KEVIN S. PARKER; COUNCILMAN, JUMAANE D. WILLIAMS;
  COUNCILMAN, DANIEL DROMM; COALITION OF
  EDUCATIONAL mSTICE; ANGELMARTINEZ;
  NATASHA CAPERS, and "JOHN DOE AND JANE DOE # 1-100"
  said names being fictitious, it being the intent of Plaintiff
  to designate any and all individuals, officers, members,
  agents, servants, and/or employees of the aforementioned
  agencies owing a duty of care to Plaintiff, individually and
 jointly and severally,

                                               Defendants.
---------------------------------------------------------------------------------------J(

                     PLAINTIFF'S MEMORANDUM OF LAW
          IN OPPOSITION TO DEFENDANT, NEW YORK STATE SENATOR,
    KEVIN S. PARKER'S MOTION FOR JUDGMENT ON PLEADINGS PURSUANT TO
                       FED. RULE OF CIV. PROCED. 12 (c)


                                                        THE LAW OFFICE OF THOMAS F. LIOTTI, LLC
                                                        By: Thomas F. Liotti, Esq. (TL 4471)
                                                        Attorneys for the Plaintiff
                                                        PATRICIA CUMMINGS
                                                        600 Old Country Road, Suite 530
                                                        Garden City, New York 11530
                                                        Tom@TLiotti.com
                                                        Phone: (516) 794-4700
                                                        Fax:     (516) 794-2816
               Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 2 of 38




                                                      TABLE OF CONTENTS


TABLE OF AUTHORITIES ........................................................................................................... i

PRELIMINARY STATEMENT ..................................................................................................... 1

                       The Statements Concerning Plaintiffs "Teachable Moment"
                       on Slavery and the Department of Education's Subsequent
                       Investigation Contain Numerous Errors .................................................................. 9

ARGUMENT ................................................................................................................................. 11

POINT 1 ......................................................................................................................................... 11

           SENATOR PARKER'S MOTION FOR JUDGMENT
           ON THE PLEADINGS IS PROCEDURALLY DEFECTIVE ......................................... 11

POINT II ........................................................................................................................................ 12

           THE PLAINTIFF HAS SUFFICIENTLY DEMONSTRATED
           A BASIS FOR A DEFAMATION ACTION AGAINST
           SENATOR PARKER ........................................................................................................ 12

                       Courts Do Not Regularly Dismiss Defamation Actions ........................................ 12

                       The Defendant DID NOT Fairly and Accurately
                       Comment on the Actual Proceedings ..................................................................... 18

                       The Statements Describing the Plaintiff and
                       Her Lesson are NOT Opinions ............................................................................. 19

                       Characterization of Someone as a "Racist" or
                       an "Oppressor" is NOT Protected Opinion ............................................................ 25

POINT III ....................................................................................................................................... 27

           THE PLAINTIFF'S NEGLIGENCE AND EMOTIONAL
           DISTRESS CLAIMS ARE ACTIONABLE .................................................................... .26

                       The Plaintiff s Claims for Negligence and
                       Emotional Distress are Actionable ....................................................................... .26

                       The Complaint Sufficiently States a Claim for Negligence,
                       Negligent Infliction of Emotional Distress, and
                       Intentional Infliction of Emotional Distress ......................................................... .28
              Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 3 of 38




CONCLUSION .............................................................................................................................. 30
              Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 4 of 38



                                               TABLE OF AUTHORITIES

Federal Cases

Bell Atlantic Corporation v. Twombly,
        550 US 544, 570 (2007) ..................................................................................................... 13

Bloom v. Fox News ofLA ,
      528 F. Supp. 2d 69, (EDNY 2007) ................................................................................... 28

Chau v. Lewis,
       771 F.3d at 127 (2014 ........................................................................................................ 23

Christopher v. American News Co.,
       171 F.2d 275 (7th Cir. 1948) .............................................................................................. 20

Chylinski v. Wal-Mart Stores, Inc.,
       150 F.3d 214, 218 (2d Cir. 1998) ....................................................................................... 28

Conboy v. AT&T Corp.,
      241 F.3d 242, 258 (2d Cir. 2001) ............................................................................... .29, 30

Conley v. Gibson,
       355 U.S. 41 (1957) ............................................................................................................. 16

Doev. Doe,
       No. 16 Civ. 0332 (NSR), 2017 WL 3025885, (SDNY July 14, 2017) ............................. 21

Egiazaryan v. Zalmayev,
       880 F Supp 2d 494, 503 [SD NY 2012] ............................................................................ 20

Enigma Software Grp. USA, LLC v. Bleeping Computer LLC,
      F Supp 3d, 2016 WL 3773394, [SD NY 2016] ................................................................. .20

Gertz v. Robert Welch, Inc.,
        418 U.S. 323,471 F.2d 801 (1974) ................................................................. 14, 15, 19,23

Green v. City ofMount Vernon,
       96 F. Supp. 3d 263,297-98 (S.D.N.Y. 2015) .................................................................. .29

Greenbelt Pub. Assn. v. Bresler,
      398 U.S. 6 (1970) .............................................................................................................. 24

Irish Lesbian & Gay Org. V. Giuliani,
        143 F.3d 638, 644 (2d Cir. 1998) ....................................................................................... 12

Kelly V. Schmidberger,
         806 F.2d 44, 46 (2d Cir. 1986) .......................................................................................... 22
              Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 5 of 38



King v. American Airlines, Inc.,
        284 F.3d 352, 356 (2d Cir. 2002) ...................................................................................... .12

Koulkina v. City ofNew York,
       559 F. Supp. 2d 300 (S.D.N.Y. 2008) ................................................................................ 13

Letter Carriers v. Austin,
        418 U.S. 264 (1974) ........................................................................................................... 24

Leonard F. v. Isr. Disc. Bank ofNY.,
      199 F.3d 99, 107 (2d Cir. 1999) ........................................................................................ 16

Lopez v. Nat 'I Archives & Records Admin.,
       301 F. Supp. 3d 78,84 (D.D.C. 2018) .............................................................................. 13

Lopez v. Univision Commc/ns, Inc.,
       45 F. Supp. 2d 348,362 (S.D.N.Y. 1999) ......................................................................... 19

Mitre Sports Int'l Ltd. v. Home Box Office, Inc.,
       22 F. Supp. 3d 240,255 (S.D.N.Y. 2014) ......................................................................... 19

Mr. Chow ofN Y. v Ste. Jour Azur S.A.,
      759 F.2d 219, 227-228) ................................................................................................ 23, 24

Mott v. Anheuser-Busch, Inc.,
        910 F. Supp. 868, 875 (N.D.N.Y. 1994), affd, 112 F.3d 504 (2d Cir. 1996) ................... .19

Murphy v. Dep't ofAir Force,
      326 F.R.D. 47, 49 (D.D.C. 2018) 82 .................................................................................. 13

New York Times Co. v. Sullivan,
      376 U.S. 254 (1964) ............................................................................................... 13, 14, 15

Oltman v. Evans,
      750 F.2d 970 (1984) .................................................................................................... 24, 25

Patel v. Searles,
        305 F.3d 130, 135 (2d Cir. 2002) ...................................................................................... 16

Piesco v. City ofNew York Dep't ofPersonnel,
       753 F. Supp. 468,479 (S.D.N.Y. 1990) ............................................................................ .28

Qureshi v. St. Barnabas Hosp. Ctr.,
      430 F.Supp.2d 279, 287 (SDNY 2006) ............................................................................ .22

Rosenblatt v. Baer,
      383 U.S. 75 (1966) ............................................................................................................. 13


                                                                                                                                         ii
             Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 6 of 38



Schuler v. PricewaterhouseCoopers, LLP,
       514 F.3d 1365, 1370 (D.C. Cir. 2008) ......................................................................... 12, 13

Sellers v. M C. Floor Crafters, Inc.,
        842 F.2d 639, 642 (2d Cir. 1988) ...................................................................................... 12

Smith v. City ofNew York,
       No. 13-CV-2395, 2014 U.S. Dist. LEXIS 139267,2014
       WL4904557, (E.D.N.Y. Sept. 30, 2014) ................................................................... 16, 17

Stevens v. Tillman,
       855 F.2d 394, 403 (7th Cir. 1988) ................................................................................... .25

Vega v. Hempstead Union Free Sch. Dist,
        801 F.3d 72, 78 (2d Cir. 2015) ........................................................................................... 12

State Cases
Anderson v. City ofNew York,
          NY Slip Op 30080(U) (Sup. Ct. NY County 2014) ........................................................... 11

Aronson v. Wiersma,
      65 NY2d 592, (1985) at 594 .............................................................................................. 17

Armstrong v. Simon & Schuster,
      85 NY2d 373 (1995) at 380 ............................................................................................... 17

Ava v. NYP Holdings, Inc.,
       64 AD3d 407 (2009) at 413 ............................................................................................... 17

Brian v Richardson,
       87 NY2d 46, 51 [1995] ...................................................................................................... 20

Chapadeau v. Utica Observer-Dispatch,
      38 NY2d 196, 199 (1975) .................................................................................................. 28

Davis v. Boeheim,
       24 NY3d 262 at 269 (2014) ............................... ,......................................................... 19, 20

Farber v. Jefferys,
       33 Mise 3d 1218[A], 2011 NY Slip Op 51966, [Sup Ct, NY County 2011],
       affd 103 AD3d 514 [1st Dept. 2013], Iv denied 21 NY3d 858 .......................................... 17

Fischer v. Maloney,
       43 N.Y.2d 553,558,402 N.Y.S.2d 991,993,373 N.E.2d 1215, 1217 (1978) ................. .26




                                                                                                                                    iii
             Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 7 of 38



Freeze Right Refrigeration &Air Conditioning Services, Inc. v. City ofNew York,
       101 AD2d 175, 182 ........................................................................................................... 18

Gross v. New York Times Co.,
       82 N.Y.2d at 153, 603 N.Y.S.2d at 817,623 N.E.2d at 1167 (1993) .......................... 17, 20

Howell v. New YorkPost Co.,
       81 N.Y.2d 115, 121 (1993) ................................................................................................ 27

Immuno AG v. J. Moor-Jankowski,
      77 N.Y.2d at 248-49,566 N.Y.S.2d at 913-14,567 N.E.2d at 1277-78 (1991) ................ 17

James v. GannettCo.,
       40 NY2d 415 (1976) at 419-420 ........................................................................................ 17

Liberman v. Gelstein,
      80 NY2d 429,435 (1992) .................................................................................................. 21

Mann v. Abel,
       10 NY3d 271 at 276 (2008) ............................................................................................... 20

Murphy v. Am. Home Products Corp.,
      58 NY2d 293,303 [1983] ............................................................................................ 27, 28

Parks v. Steinbrenner,
        131 AD2d 60, 62-63 [1 st Dept. 1987] .............................................................................. .20

Passucci v. Home Depot, Inc.,
      67 AD3d 1470, 1471 [4th Dept. 2009] ............................................................................. .29

Penn Warranty Corp. v. DiGiovanni,
      2005 NY Slip Op 25449 10 Misc3d 998 (2005) ............................................................... .21

Pollnow v. Poughkeepsie Newspapers, Inc.,
       107 A.D.2d 10, 18,486 N.Y.S.2d 11 (2d Dep't 1985) ...................................................... 19

Rinaldi v. Holt, Rinehart & Winston
       53 A.D.2d 839, 386 N.Y.S.2d 818 (1 st Dept. 1976) ........................................................... 23

Santana v. Leith,
       117 AD3d 711, 712 [2d Dept. 2014] ................................................................................. 27

Sheila C. v. Povich,
       11 AD3d 120, 131 [1st Dept. 2004] ................................................................................... 27

Silsdorf v. Levine,
       59 NY2d 8, 15-16 [1983], cert denied 464 US 831 ........................................................... 20


                                                                                                                                     iv
              Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 8 of 38



Silverman v. Daily News, LP,
       129 AD3d 1054 (2 nd Dept. 2015) ...................................................................................... .22

Steinhilber v. Alphonse,
        68 NY2d 283, 291-292 [1986] ............................................................................... 17, 19,20

600 West 115th Street Corp. v. Von Gutfeld,
      80 N.Y.2d at 136 & 138, 589 N.Y.S.2d at 827 & 829,
      603 N.E.2d at 932 & 934 (1992) ....................................................................................... 17



Fed. R. Civ. P. 8 (a)(2) ................................................................................................................... 16

Federal Rule of Civil Procedure 12 (b)(6) ........................................................... ;.................. 12, 13

Federal Rule of Civil Procedure 12 (c) ............................................................................ 12, 13, 16

Secondary Sources
Restatement [Second] of Torts § 46 comment d ........................................................................... .28

Restatement [Second] of Torts § 566 comment c ................................................................... .24, 30

Willging, Thomas E., Use ofRule 12 (B) (6) in Two Federal District Courts
       (Federal Judicial Center 1989) ........................................................................................... 12

Williams, Akhee Jamiel, Divided We Fall. Ignorant We Fail (2013) ............................................. 5




                                                                                                                                              v
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 9 of 38




        Plaintiff, Patricia Cummings, (hereinafter "Plaintiff' or "Ms. Cummings"), a private

individual, respectfully submits this Memorandum of Law in Opposition to Defendant, New York State

Senator Kevin S. Parker's (referred to as, "Senator Parker," "Defendant, Senator Parker," or

"Defendant") Motion for Judgment on the Pleadings pursuant to Federal Rule of Civil Procedure 12

(c).

                                   PRELIMINARY STATEMENT

        The Senator Parker's Motion is a thinly-veiled attempt to reframe Plaintiffs case into

something that it is not. The Defendant disingenuously argues that his quoted statements were mere

expressions of opinion, and accompanied by the facts on which those opinions were based, are

protected by both the United States and New York Constitutions.

        The Plaintiff was a probationary New York City Public School Teacher at The William W.

Niles School- Middle School 118, Community School District 10, in Bronx County, New York. She

seeks damages related inter alia to the infliction of defamation and defamation per se, reverse

discrimination, denial of due process, severe emotional, psychological, and physical distress, loss of

reputation, loss of income, expenses upon her, the erroneous termination of her employment as a New

York City school teacher, and the "badge of infamy" with which she has forever been branded.

        The Plaintiff s claim arose as a result of what was fallaciously reported concerning an alleged

complaint made by one (1) parent of one (1) student regarding a lesson taught by the Plaintiff in her

social studies class on the Middle Passage, wherein she subsequently and unwillingly became the

subject of a front page pictorial and story in the New York Daily News, falsely accusing her of being a

"racist" and "making black students lie face down on the floor of her class, and asking them: '[H]ow

does it feel to be a slave?" As a result, this fabricated and erroneous set of purported "facts" was picked

up by the media worldwide and transmitted to various news outlets and appeared online and in media

all over the world. The Plaintiff was featured in several prominent newspapers and televised news

programs, as well as on Y ouTube, where it was erroneously reported, among other things that she

                                                                                                         1
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 10 of 38




"singled out black students and made them act like slaves;" and she is falsely reported to have told

them to "lie on the floor for a lesson on slavery and then stepped on their backs to show them what

slavery felt like." She has been publically shamed and falsely accused of "child abuse," labeled as a

"racist," referred to as an "oppressor," by many, including politicians and activists, and specifically in

various and extensive media outlets discussing this issue. She has received direct threats of violence

and death causing her to fear for her life. The Plaintiff was ultimately exonerated of the original

erroneous allegations following an investigation by the New York City Department of Education's

Office of Special Investigations, yet has nonetheless been terminated from her employment as New

York City Public School Teacher at The William W. Niles School - Middle School 118.

        What has been disingenuously described by the Defendant as "controversial classroom

conduct" was, in actuality, an example of a multi-sensory! teacher demonstrating "spatial recognition"

to her students. This part of her lesson was described by the Plaintiff as a "teachable moment," meant

for the students to perceive the closeness of the conditions being discussed for clarification purposes;

it was not, in any way, a reenactment. It was falsely recounted that "multiple students in the classroom

reported that she physically pushed the' student volunteers' closer together, asking them "how it felt"

to be a slave. This fabricated account is contradicted by the reported findings of the of the New York

City Department of Education's Office of Special Investigations (also referred to as OSI); to wit:

'''Student B' denied that Ms. Cummings used her feet or her knees to push the students closer together

during the demonstration;" '''Student' I never observed Ms. Cummings' knee make contact with

'Student A '" '" Student J' denied that Ms. Cummings made any physical contact with the students to

make contact with them." See, Redacted Copy of Office of Special Investigations Investigative Report




  1 Multi -sensory teaching is a didactic system that seeks to develop awareness of self in time and space in order to
  raise cognition and understanding of the world as is experienced. It takes into account that different children learn
  in different ways; conveys information through things like touch and movement-called tactile and kinesthetic
  elements, as well as sight and hearing. See, White, Helen and Christina Evans, Learning to Listen to Learn: Using
  Multi-Sensory Teaching for Effective Listening (2005).

                                                                                                                     2
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 11 of 38




(OSI) dated July 24,2018, included herein as Plaintiff's Exhibit A. Moreover, "Students B, D, E, F,

I, J and K" noted that the participating student volunteers did not appear to be in any distress. See,

Plaintiff's Exhibit A. Most remarkably, "Student J" admitted that "'Student A,2 was lying and was

attempting to get Ms. Cummings fired or in trouble because 'Student A' did not like Ms. Cummings."

See, Plaintiffs Exhibit A, at page 5. Moreover, the Plaintiff controverts this fallacious allegation in

her rebuttal correspondence addressed to Community Superintendent Maribel Torres-Hulla dated

October 5, 2018, annexed hereto as Exhibit B at page 8.

        "Student A" is alleged to have complained on or about January 11, 2018, and as noted in the

OSI Report, "Student A's" mother is noted to have complained 6 days later (9 days after the lesson).

Further, it is evident that a complaint was not immediately filed according to the OSI Report. See,

Plaintiff's Exhibit A. Furthermore, the Plaintiff was not removed for investigation by the New York

City Department of Education's Office of Special Investigations until February 2,2018; the day the

New York Daily News' exclusive front page story was published. Principal Cox did a school based

investigation, but failed to adhere to Chancellor Regulation A-420 and breached Article 20 of the

Contract existing between the New York City Department of Education (NYCDOE) and the United

Federation of Teachers (UFT). A copy of the Plaintiffs Verified Complaint dated May 15, 2019,

annexed hereto as Exhibit C, at pages 46-48.

        The reports were grossly incorrect and completely distinct from the allegation that was actually

being investigated by OSI. The original allegation involved a false report that the Plaintiff physically

pushed student volunteers closer together, using her feet or her knees to push the students closer

together during a lesson demonstration; it was never the complaint that she "singled out black students

and made them act like slaves;" told them to "lie on the floor for a lesson on slavery and then stepped




  2 "Student A" was one of four students who voluntarily participated in the classroom demonstration on the Middle
  Passage. It was erroneously alleged that Ms. Cummings pushed "Student A's" back with her knee and asked if it
  hurt or caused her discomfort.

                                                                                                                3
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 12 of 38




on their backs to show them what slavery felt like," as falsely and repeatedly reported. See, Plaintiffs

Exhibit C, at pages 24-25. Notably, the Office of Special Investigations Investigative Report (OSI

Report) dated July 24,2018, indicates that "rT] he written statements made by 'Students B, C, D, E, H,

1, J, Q, R, S, T, U, and V' fail to corroborate that Ms. Cummings pressed her knee into 'Student A's'

back or any students' back." See, Plaintiff s Exhibit A. "Therefore, the allegation that Ms. Cummings

used corporal punishment against "Student A" by pushing her knee into her ["Student A's"] back

during a classroom demonstration was never corroborated and is unsubstantiated." See, Plaintiffs

Exhibit A. Parenthetically, the finding that Ms. Cummings acted with poor judgment in conducting a

lesson that inadequately incorporated the New York City DOE social studies curriculum and guidance

for this topic is a violation of her due process, as this is an improper finding, as it is not the function of

the Office of Special Investigations to examine and evaluate teacher pedagogy (method or practice of

teaching).

        The Defendant, Senator Parker erroneously argues that he cannot be liable to the Plaintiff, as

the references to the Plaintiff were "explicitly and exclusively based on the reporting in the press,

which had already generated substantial public discussion and protests. This is a fallacy. Nonetheless,

any claim that the press articles, particularly the New York Daily News' articles, were fair and true

reports ofjudicial proceedings, is completely false. There were no proceedings taking place at that time

which alleged that the Plaintiff "singled out black students and made them act like slaves;" told them

to "lie on the floor for a lesson on slavery and then stepped on their backs to show them what slavery

felt like," as was reported as "fact." The Plaintiff was being investigated for a completely different

allegation.

        Likewise, Senator Parker disingenuously claims that by the time he had been quoted in the

press, the Plaintiff had become a public figure, and the subject of her classroom conduct had become

a matter of substantial political, social or other concern to the community and the City. Nonetheless, it

is clear that Senator Parker knew or should have known that the original reporting was not accurate.

                                                                                                            4
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 13 of 38




Plausibility was completely ignored, to wit: if the Plaintiff had in fact walked on student's backs, would

they not have sustained physical injuries? Would she not have been arrested or charged with child

abuse? It should have been obvious that this allegation was preposterous; however this gross distortion

helped Senator Parker to substantiate his call for the Plaintiffs "swift removalfrom the New York City

Department of Education" and "the revocation of all New York State licensures and credentials that

would allow her to teach in our State." As a result, the Plaintiff's negligence claims must also stand.

        Senator Parker further argues that he simply used the reporting about the Plaintiff in addressing

race in education. In this regard, he argues that his quoted statements were mere expressions of opinion

and an academic rumination on the best practices for sensitivity in the classroom. It is important to

note that there were no substantiated, accurate facts reported anywhere. Moreover, the disingenuous

attempt to characterize the reference to the Plaintiffs actions as opinion by Senator Parker is derisory.

Senator Parker is self-described as committed to restoring the overall quality oflife for his constituents.

His asserted commitment to his community is reflected in his leadership in civic organizations. He has

expressed his commitment to education, as a professor of both African-American Studies and Political

Science at several colleges, including: CUNYs: Baruch College, John Jay College, Medgar Evers

College, City College; SUNY, Old Westbury; and Long Island University. Brooklyn College is where

Senator Parker teaches a majority of his classes and is a faculty advisor to student organizations and

activities. The Senator is currently an adjunct professor at Brooklyn College's Center for Worker

Education. At Penn State (where he received his Bachelor of Science Degree in Public Service),

Senator Parker organized students for racial justice and encouraged diversity at the University. As such

he is inarguably considered a thought-leader in the field of racial justice and diversity in education. As

such elected officials have a responsibility and must be able to distinguish between "facts and fiction,

opinion from proven data, and statistical analysis from baseless hypothesis." They need to know how

reliable statements are before reporting them as facts. See, Williams, Akhee Jamiel, Divided We Fall.

Ignorant We Fail (2013). In order to formulate his purported "opinion," that the Plaintiff "singled out

                                                                                                          5
           Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 14 of 38




black students and made them act like slaves;" told them to "lie on the floor for a lesson on slavery

and then stepped on their backs to show them what slavery felt like" the Defendant performed no

independent investigation of the "facts" despite the fact that the reported account referred to by Senator

Parker differed dramatically from the actual allegation that was made by just one student and

ultimately unsubstantiated by OS1 What was erroneously the subject of his quoted statement

amounted to child abuse and/or endangerment, yet there was no indication of a substantiated

investigation by him before he called for the Plaintiff s removal as aNew York City teacher and

revocation of her New York State teaching license and credentials. He is a self-designated thought-

leader for his constituents and an elected official, referencing unsubstantiated events in the media. He

presents himself in his statement as an authority, affirming that his expertise as an African Studies

professor for over 20 years, makes him qualified to determine the Plaintiffs character. 3 Thus, Senator



  3 Senator Parker's statements on the Plaintiffs character and on her alleged "deplorable acts" are quite ironic given
  his own personal controversies, to wit: In January 2005, he was arrested after punching a traffic agent in the face
  during a dispute over a traffic citation that he had been issued. He was subsequently charged with third degree
  assault, a misdemeanor. The charges were dropped after he agreed to take anger management classes. See, "NY
  Senator: 'You Racist People In Here.'" wcbstv.com; archived from the original on April 30, 2010. Retrieved April
  29,2010. In 2008, an aide filed charges against him, claiming he pushed her during an argument and smashed her
  glasses. Id. On May 8, 2009, he was charged with felony criminal mischief for attacking a New York Post
  photographer and damaging the photographer's camera and car door. According to prosecutors, the photographer's
  finger was broken in the alleged attack. See, "Convicted NY State Senator Loses 1 Leader Post." CBSLocal.com.
  January 11, 2011. Retrieved January 25, 2018. He was charged with a felony due to the value of damage to the
  camera and car door. See, Gendar, Alison; Lovett, Ken; Standora, Leo (May 8, 2009). "State Senator Kevin Parker
  busted over tussle with photographer." New York: Nydailynews.com. Retrieved April 29, 2010. As a result, he was
  stripped of his leadership position as majority whip and chair of the Energy Committee. See, Baker, Al (May 10,
  2009). "After Arrest, a State Senator Loses His Leadership Posts." The New York Times. He was convicted of a
  misdemeanor charge, criminal mischief, and on March 21,2011 was sentenced to three years probation and a $1,000
  fine. See, Gorta, William 1. (March 21, 2011). "State Sen. Parker sentenced to probation for attacking Post
  photographer." New York Post. Had he been convicted of the felonies, he would have automatically lost his seat in
  the Senate, and the Senate had already expelled Hiram Monserrate for misdemeanor charges earlier in the year. The
  Senate Democrats expressed an unwillingness to expel Parker as they had Monserrate. See, "Sampson sees no
  Monserrate-Parkerparallels." TirnesUnion.com. December 7,2010. Retrieved January 25,2018. In February 2010,
  Parker was restrained by his colleagues during a profane tirade against Senator Diane Savino in which Parker
  referred to Savino as a "bitch." See, Lovett, Kenneth (February 11,2010). "Another Senate brawl in Albany: Sen.
  Kevin Parker charges towards then curses out female colleague." Daily News. New York. In April 2010, he
  launched into an outburst while colleague John DeFrancisco (R) of Syracuse was questioning a black nominee for
  the New York State Power Authority. Senator Parker objected to DeFrancisco's questions and asserted that he had
  never seen a white nominee treated in similar fashion. See, Katz, Celeste; Lovett, Kenneth (April 28, 2010). "State
  Sen. Kevin Parker erupts again with raced-based rant, and even allies are concerned" Daily News. New York. "Amid
  the nearly two-minute tirade, committee chairman Carl Kruger told Senator Parker he would be removed from the
  hearing room if he didn't settle down." Id. He has accused his colleagues of racism, and followed up in a radio

                                                                                                                     6
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 15 of 38




Parker must be held to a higher standard. Those events as quoted by Senator Parker in his statement

were not opinion.

        There were no substantiated, accurate facts reported by Senator Parker. This Court must remain

mindful of the rule that the defamatory effect ofthe segment is to be ascertained not from the viewpoint

of a critic or language expert, but rather from that of a reader of reasonable intelligence who takes

ordinary interest in the articles of a periodical or statements made by an elected official, but does not

commonly subject them to careful scrutiny and analysis. Clearly a reasonable reader, in this instance

would believe that Senator Parker's statements were conveying facts about the Plaintiff [this is

evidenced by the vicious attacks and public outcry for social justice that continued], and would believe

that the statements constituted reports of a proceeding, which they did not. He presented the narrative

as being proven and true, thus facilitating and further inciting the protest and unrest directed toward

the Plaintiff. Notably, in the challenged statement, the Defendant Senator Parker disingenuously

offered that "Although some are calling for a second chance for Ms. Cummings via culturally

competent training and the like, as an African American Studies professor at the City University of

New Yorkfor over 20 years now, I know there is no level of training that can make a person more




  interview by accusing his Republican "enemies" of being white supremacists. See, "NY Senator: 'You Racist People
  InHere.'" wcbstv.com; archived from the original on April 30, 2010. Retrieved April 29, 2010. Following the tirade,
  Sen. Ruben Dfaz Sf. (D-Bronx) was quoted as saying that Parker "needed help." See, Katz, Celeste; Lovett, Kenneth
  (April 28, 2010). "State Sen. Kevin Parker erupts again with raced-based rant, and even allies are concerned" Daily
  News. New York. In December 2018, Senator Parker allegedly blocked a bike lane with a car using his official
  parking placard, but a different license plate. When questioned about the incident on Twitter, he replied, "Kill
  yourself!" See, Mills Rodrigo, Chris (January 18,2018). ''NY state senator tweets 'Kill yourself at user who called
  him out over parking placard." The Hill. Retrieved January 18, 2018; see also, Fearnow, Benjamin, (18 December
  2018). '''Kill Yourself!': New York State Senator Kevin Parker Apologized for Tweet Over Parking Spot."
  Newsweek. Retrieved 19 December 2018. "Parker responded with an irrational demand that she kill herself before
  he offered a weak Twitter apology using his verified account. But less than an hour after the apology, Parker
  continued his criticism of Giove." Incoming Senate President Andrea Stewart-Cousins expressed her
  "disappointment" at Parker's action. See, "Dem. State Senator Slammed For 'Kill Yourself!' Tweet To GOP Aide."
  WLNY-TV CBS. 18 December 2018. Retrieved 19 December 2018. In an April, 2019 closed-door meeting of
  Senate Democrats, an argument between Parker and Sen. Alessandra Biaggi (D) occurred, and Senator Parker
  reportedly "ripped off his tie and threw it down in a rage." See, Fink, Zack, "Nasty Fight Erupts Between State
  Senate Democrats During Closed Door Meeting." 'vvww.nyl.com (April 12, 2019).



                                                                                                                   7
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 16 of 38




sensitive to the struggles of another." He further stated that "[1Jhosefeelings cannot be prepared in

one's mind, but rather must be intrinsic to one's character. This is not the case for Ms. Cummings ....."

        Nonetheless, Senator Parker maintains the specious argument that the comments complained

of are expressions of pure opinion on facts extensively reported by the media, and not assertions of

fact, and thus are protected. This is problematic and misguided. There were no substantiated, accurate

facts reported. While, Senator Parker may argue that he is not a 'j ournalist" or "reporter," per se; he is

a self-proclaimed thought leader, and public leader, working to improve education and an activist, with

a following of constituents, who are guided by what he has to say, and blindly accept his statements as

truth. No other investigation of the purported "facts" occurred, as evidenced by the fact that the

reported accounts differed dramatically from the actual allegation that was made by just one student

and ultimately unsubstantiated by OSI. What was being erroneously reported amounted to child abuse

and/or endangerment, yet there was no indication of a substantiated investigation. Therefore, the

Defendant cannot disingenuously cloak his otherwise actionable behavior as "opinion" while

publically describing the Plaintiff as having the character of a "racist" and an "oppressor," while

promoting a false fact pattern and expect to escape any liability. Plaintiff s quarrel is not with what she

believes to be unfair assessments and remonstrations concerning her lesson. She has no doubts

regarding her lesson, and her colleague, (an African-American teacher), who was present in the

classroom, testified as to its appropriateness4 • Contrary to the contentions, there was no "dubious"

decision, nor was there even a "reenactment." As the Plaintiff has argued herein, there was never any




  4 Ralph Hudson is African-American teacher who witnessed the Plaintiffs lesson. He acknowledged to the Plaintiff
  after the lesson that he was impressed with how she handled the situation and subject matter with such grace and
  dignity. It is important to note that he told investigators from the Department of Education's Office of Special
  Investigations (OSI) that he found the lesson to be "appropriate and was within the scope of effectively educating
  students about the harsh conditions endured by slaves during transport." (Emphasis added). He did not corroborate
  the events that the student alleged to have happened. Furthermore, he indicated that it was his belief that if the
  Plaintiff were African-American, the incident would have been a non-issue. See, Plaintiff's Exhibit A at pages 7
  and 8.


                                                                                                                  8
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 17 of 38




reenactment, this part of her lesson, which was a teachable moment5 was for "spatial recognition,"

meant for the students to perceive the closeness of the conditions being discussed for clarification

purposes. In addition to be an elected official, as a professor and a thought-leader in the field of

education, Senator Parker should be familiar with this teaching method and should have known better.

The Complaint contains numerous factual allegations to demonstrate that Senator Parker's comments

were made in a grossly irresponsible manner. In this regard, Senator Parker disingenuously argues a

failure to demonstrate that he knew or should have known that the reporting was inaccurate.

        Lastly, with respect to the Plaintiff s cause of action for intentional infliction of emotional

distress, the conduct described by the Plaintiff more than meets the rigorous standard formulated by

the New York courts for emotional distress claims. The Defendant, Senator Parker failed to exhibit

any iota of integrity when he made entirely false statements about the Plaintiff; this makes him

unquestionably negligent. Notably, even when he undoubtedly learned that the Office of Special

Investigations Investigative Report, (see, Plaintiffs Exhibit A), had confirmed every item previously

reported to be blatantly false, the Defendant never issued a retraction or made any attempt to correct

the record.

The Statements Concerning Plaintiff's "Teachable Moment" on Slavery and the Department of
Education's Subsequent Investigation Contain Numerous Errors

        In an attempt to diminish the Plaintiff s claims, it was erroneously reported that by showing

the clip from the movie Freedom, the Plaintiff deviated from the class's preapproved curriculum.

Nonetheless, the Plaintiff maintains that she did not deviate from the curriculum. See, Plaintiffs

Exhibit B, at page 3-4. The Plaintiff was not looking to replicate the conditions on the boats along the

Middle Passage; she sought to replicate the space, or lack thereof, as a demonstration of spatial

recognition. Moreover, the Plaintiff did not specifically select black students as volunteers for the


  5 A teachable moment is not something that you can plan for; rather, it is a fleeting opportunity that must be sensed
  and seized by the teacher. Often it will require a brief digression that temporary sidetracks the original lesson plan
  so that the teacher can explain a concept. See, Footnote number 41 of Plaintiffs Exhibit B, at page 7.

                                                                                                                      9
         Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 18 of 38




demonstration. It was acknowledged that she sought random volunteers from the class to participate in

the demonstration; no student was forced to participate. Notably, the class was comprised entirely of

minority students. Again, the claim that multiple students reported that Plaintiff used her feet or hands

to push these students even closer together is false. As stated previously herein, "Student B"

specifically denied that Ms. Cummings used her feet or her knees to push students closer together. The

fabricated account is clearly contradicted by the reported findings of the Office of Special

Investigations; to wit: '''Student B' denied that Ms. Cummings used her feet or her knees to push the

students closer together during the demonstration;" "'Student l' never observed Ms. Cummings' knee

make contact with Student 'A;'" "'Student J' denied that Ms. Cummings made any physical contact

with the students to make contact with them." See, Plaintiffs Exhibit A; see also, Plaintiffs Exhibit B

at page 8.

        An inaccurate account of the complaint filed with the principal, (Defendant Giulia Cox), by

the student and her parent were reported. Believing that these actions actually constituted corporal

punishment, for any of that account to be plausible, Principal Cox would have had to report the alleged

incident on January 17, 2018, prior to the Plaintiffs initial meeting with her on January 18, 2018; she

(Principal Cox) had not. The Plaintiff was never removed to a different school; she was reassigned to

an administration building. The OSI report did not contain "various eyewitness accounts confirming

that Plaintiff had placed her feet or knees on the students." See, Plaintiffs Exhibit A; see also,

Plaintiff's Exhibit B at page 8. The one student's complaint was not corroborated. While it was reported

that the Department of Education "does not ever include or encourage reenactments of historical events

where students take on roles of victimized people," no such policy is known to exist. See, Plaintiff's

Exhibit B at pages 7-8. Nonsensically, OSI, in its report, referred the matter back to Principal Cox to

"take appropriate disciplinary action." See, Plaintiffs Exhibit A. Yet, the Plaintiff had already been

disciplined by Principal Giulia Cox when she was removed from her classroom in January, 2018.

Furthermore, the report recommended training, not termination; however, the events that followed

                                                                                                       10
         Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 19 of 38




made it very clear that there was no intention for the Plaintiff to return to the school. Though she was

assured that she would be returning following the requisite filing of the disciplinary letter, the school

apparently created a false schedule for the Plaintiff in order to conceal their true and premeditated

intention to terminate her from her position, undoubtedly based on the public outcry fueled by the likes

of Senator Parker and others who defamed the Plaintiff based entirely on false information.

                                             ARGUMENT

                                      POINT 1
                     SENATOR PARKER'S MOTION FOR JUDGMENT
                   ON THE PLEADINGS IS PROCEDURALLY DEFECTIVE

        Primarily, this Court must consider the glaring procedural defect of the Defendant's Rule 12(c)

Motion for Judgment on the Pleadings, which fails to include a copy of the Plaintiffs Verified

Complaint as an Exhibit. The Defendant has not seen fit to include a copy of the key document - the

Verified Complaint. Arguably, the Court would have great difficulty determining either the legal

sufficiency of a complaint that it has not been provided. A decision from the Supreme Court, New

York County provides that when making a motion to dismiss based on an alleged pleading, a copy of

the challenged pleading needs to be included. In Anderson v. City a/New York, NY Slip Op 30080(U)

(Sup. Ct. NY County 2014), the plaintiff alleged race and gender discrimination under the New York

State and City Human Rights Laws, and the Court denied defendants' motion to dismiss with leave to

renew on proper papers, for failure to attach a copy of the complaint." Id. Thus, Senator Parker's

motion is likewise procedurally defective and should be denied. Nonetheless, should this Court elect

to overlook the Defendant's procedurally defective motion, the Defendant's motion should otherwise

be denied as it is lacking in any legal basis and is devoid of any merit sufficient to withstand this

Court's review.




                                                                                                       11
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 20 of 38




                                   POINT II
         THE PLAINTIFF HAS SUFFICIENTLY DEMONSTRATED A BASIS FOR A
                DEFAMATION ACTION AGAINST SENATOR PARKER

Courts Do Not Regularly Dismiss Defamation Actions

        The Second Circuit has stated that "[t]he standard for addressing a Rule 12 (c) motion for

judgment on the pleadings is the same as that for a Rule 12(6)(b) motion to dismiss for failure to state

a claim, and in this regard, it has been said that a Rule 12 (b)(6) motion is rarely granted. See, Willging,

Thomas E., Use of Rule 12 (B)(6) in Two Federal District Courts (Federal Judicial Center 1989).

Seeking judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c) "is

appropriate where material facts are undisputed and where a judgment on the merits is possible merely

by considering the contents of the pleadings." See, Sellers v. Me. Floor Crafters, Inc., 842 F.2d 639,

642 (2d. Cir. 1988) (citation and internal quotations omitted). In evaluating a motion to dismiss based

on the pleadings under Federal Rule of Civil Procedure 12(c), the court uses "the same standard

applicable to Rule 12(b)(6) motions to dismiss or failure to state a claim for which relief can be

granted, accepting all factual allegations in the complaint as true and drawing all reasonable

inferences in [the nonmoving party's] favor." See, Vega v. Hempstead Union Free Sch. Dist., 801 F.3d

72, 78(2d Cir. 2015) (internal quotations omitted). See also, King v. American Airlines, Inc., 284 F.3d

352,356 (2d Cir. 2002); Irish Lesbian & Gay Org. v. Giuliani, 143 F.3d 638, 644 (2d Cir. 1998) ("The

test for evaluating a [Fed. R. Civ. P.] 12(c) motion is the same as that applicable to a motion to dismiss

under Fed. R. Civ. P. 12(b)(6)").

        Clearly, the Defendant has not met this Circuit's standard on a Rule 12 (c) motion. To prevail

on a Rule 12(c) motion, "the moving party [must] demonstrate that no material fact is in dispute and

that it is entitled to judgment as a matter oflaw." See, Schuler v. PricewaterhouseCoopers, LLP, 514

F.3d 1365, 1370 (D.C. Cir. 2008) (internal quotation marks omitted). "[T]he factual allegations of the

complaint must be taken as true, and any ambiguities or doubts concerning the sufficiency of the claim

must be resolved in favor of the pleader." Id. (internal quotation marks omitted). "[U]n1ike a Rule
                                                                                                          12
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 21 of 38




12(b)(6) motion," which focuses merely on the sufficiency of the complaint, "a Rule 12(c) motion asks

the court to render a judgment on the merits ... by looking at the substance of the pleadings and any

judicially noted facts." See, Murphy v. Dep't ofAir Force, 326 F.R.D. 47, 49 (D.D.C. 2018) (internal

quotation marks omitted); accord Lopez v. Nat 'I Archives & Records Admin., 301F. Supp. 3d 78, 84

(D.D.C. 2018) (Berman Jackson, 1.) ("[T]he [12(c)] standard ... comes closer to a summary judgment

type of determination."). "[T]he Rule 12(c) burden is substantial." See, Murphy, supra, 326 F.R.D. at

49. As argued by the Defendant, the Supreme Court in Bell Atlantic Corp v. Twombly, (550 US 544,

570, 127 S. Ct. 1955, 1965, 167 L.Ed.2d 929 (2007), held that, "in order to survive a motion to dismiss

pursuant to Rule 12 (b)(6) or Rule 12 (c), a plaintiff need not provide detailed factual allegations, but

the factual allegations asserted must be "enough to raise a right to relief above the speculative leveL ... "

See, Koulkina v. City of New York, 559 F. Supp. 2d 300 (S.D.N.Y. 2008). The Defendant claims that

the Plaintiffs action should be dismissed primarily on two (2) independently sufficient grounds (1)

Plaintiff failed to plead facts to plausibly show that Senator Parker acted in a grossly irresponsible

manner; and (2) the statements at issue are unactionable statements of opinion. Yet, it is well held that

protection cannot be afforded against blatantly false statements. This Court cannot ignore that the

Defendant's statements were not merely "his ideas," they were actually based upon incorrect

information and made to denigrate the Plaintiff s character and reputation and demand her removal as

aNew York City teacher and revocation of her New York State teaching license and credentials, her

only means of financial support. The hallmark of a defamation claim is reputational harm. Former

United States Supreme Court Justice Potter Stewart wrote in Rosenblatt v. Baer, 383 U.S. 75 (1966),

that the essence of a defamation claim is the right to protect one's good name. According to Justice

Stewart, this tort "reflects no more than our basic concept of the essential dignity and worth of every

human being -     a concept at the root of any decent system of ordered liberty." rd.

        Senator Parker mistakenly relies upon New York Times Co. v. Sullivan, 376 U.S. 254 (1964),

where the landscape of libel law dramatically changed involving a case where two paragraphs in an

                                                                                                           13
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 22 of 38




advertisement contained factual errors. For the first time, the Supreme Court ruled that "libel can claim

no talismanic immunity from constitutional limitations," but must "be measured by standards that

satisfy the First Amendment." The high court established a rule for defamation cases that dominates

modem-day American libel law. The Court wrote:

                "The constitutional guarantees require, we think, a federal rule that
                prohibits a public official from recovering damages for a defamatory
                falsehood relating to his official conduct unless he proves that the
                statement was made with 'actual malice' - that is, with knowledge
                that it was false or with reckless disregard of whether it was false or
                not." (Emphasis added).

        The Court required a public official defamation plaintiff to show evidence of actual malice or

reckless disregard for the truth by "convincing clarity" or clear and convincing evidence. Notably, as

an individual, probationary middle school teacher, with no involvement in administration or policy,

the Plaintiff is not a public official. Her having been unwillingly drawn into fabricated public

controversy in 2018, is not sufficient to characterize her as a "public figure." In this regard, the

Defendant's reliance on Gertz v. Robert Welch, Inc., 418 US 323, 339-40 (1974), for this premise is

misguided. "Hypothetically, it may be possible for someone to become a public figure through no

purposeful action of his own, but the instances of truly involuntary public figures must be exceedingly

rare." rd. "For the most part those who attain this status have assumed roles of special prominence in

the affairs of society. Some occupy positions of such persuasive power and influence that they are

deemed public figures for all purposes. More commonly, those classed as public figures have thrust

themselves to the forefront of particular public controversies in order to influence the resolution of the

issues involved. In either event, they invite attention and comment." See, Gertz, supra. This is not the

case herein. In this context it is plain that the Plaintiff was not a public figure. She plainly did not thrust

herself into the vortex of this public issue, nor did she engage the public's attention in an attempt to

influence its outcome. Id. Nonetheless, even if, assuming arguendo, the Plaintiff was considered a

public figure, she has no problem demonstrating that the blatantly false statement was made with actual


                                                                                                            14
           Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 23 of 38



malice - knowledge that it was false or with reckless disregard of whether it was false or not. Even

after seeing the OSI conclusion, the Defendant never once retracting the false account that she "singled

out black students and made them act like slaves;" told them to "lie on the floor for a lesson on slavery

and then stepped on their backs to show them what slavery felt like" or his demand that she be removed

as a teacher from the New York City Department of Education and the revocation of her New York

State teaching license and credentials.

          Gertz v. Robert Welch, Inc., 418 U.S. 323, 471 F.2d 801 (1974) does present the Court's

clarification of the limits ofthe "actual malice" standard and the difference between public and private

figures in defamation cases. The court had to determine what standard to apply for private persons and

so-called limited purpose public figures. Then, the Court had to determine whether Gertz was a private

person or some sort of public figure. In Gertz, supra, the news-media defendant argued that the Times

v. Sullivan standard should apply to any defamation plaintiff as long as the published statements related

to a matter of public importance. The high court disagreed, finding a distinction between public figures

and private persons. The Court noted two differences: (1) public officials and public figures have

greater access to the media in order to counter defamatory statements; and (2) public officials and

public figures, to a certain extent, seek out public acclaim and assume the risk of greater public

scrutiny. For these reasons, the Gertz Court set up a different standard for private persons:

                 "We hold that, so long as they do not impose liability without fault, the
                 States may define for themselves the appropriate standard of liability
                 for a publisher or broadcaster of defamatory falsehood injurious to a
                 private individual."

          This standard means that a private person does not have to show that a defendant acted with

actual malice in order to prevail in a defamation suit. The private plaintiff usually must show simply

that the defendant was negligent, or at fault. However, the Supreme Court also ruled that private

defamation plaintiffs could not recover punitive damages unless they showed evidence of actual

malice.


                                                                                                       15
         Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 24 of 38




        A defamation plaintiff must usually establish the following elements to recover: (1)

Identification: The plaintiff must show that the publication was "of and concerning" himself or herself;

(2) Publication: The plaintiff must show that the defamatory statements were disseminated to a third

party; (3) Defamatory meaning: The plaintiff must establish that the statements in question were

defamatory. For example, the language must do more than simply annoy a person or hurt a person's

feelings; (4) Falsity: The statements must be false; truth is a defense to a defamation claim. Generally,

the plaintiff bears the burden of proof of establishing falsity; (5) Statements of fact: The statements in

question must be objectively verifiable as false statements offact. In other words, the statements must

be provable as false; and (7) Damages: The false and defamatory statements must cause actual injury

or special damages. Clearly, the Plaintiff has successfully demonstrated each of the elements. Further,

in Patel v. Searles, 305 F.3d 130, 135 (2d Cir. 2002), the Court discussed the high burden of proof

necessary on a motion to dismiss under Fed. R. Civ. P. 12 (c) and held:

                "A complaint will only be dismissed under Ru1e 12(c) if it appears
                beyond doubt that the [nonmoving party] can prove no set of facts in
                support of his claim which would entitle him to relief." See, Patel,
                supra. (internal quotations omitted).

       Further, the Court has referenced Fed. R. Civ. P. 8 (a)(2) to illustrate the liberal system of

pleading in a federal action. See, Conley v. Gibson, 355 U.S. 41 (1957). "A District Court must confine

its consideration to facts stated on the face of the complaint, in documents appended to the complaint

or incorporated in the complaint by reference, and to matters of which judicial notice may be taken."

See, Leonard F. v. Isr. Disc. Bank o/N.Y., 199 F.3d 99, 107 (2d Cir. 1999) (internal quotation marks

omitted); see also, Smith v. City a/New York, No. 13-CV-2395, 2014 U.S. Dist. LEXIS 139267,2014

WL 4904557, (E.D.N.Y. Sept. 30, 2014) ("When deciding a motion on the pleadings, the court must

confme its consideration to the pleadings and their attachments, to documents ... incorporated in the

complaint by reference, and to matters of which judicial notice may be taken") (internal quotation




                                                                                                       16
         Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 25 of 38



marks omitted).Thus, Senator Parker's motion has not met this Circuit's test on motions of this type,

and should; therefore, be denied in all respects.

       Further, Senator Parker argues that his alleged statements were expressions of opinion and not

actionable as defamation. We must remain mindful of the rule that the defamatory effect of the

statements are to be ascertained from that of a person of reasonable intelligence who takes ordinary

interest in the statements made by an elected official, and does not commonly subject them to careful

scrutiny and analysis. In applying New York law, words that are challenged as defamatory "must be

construed in the context of the entire statement or publication as a whole," tested against the

understanding of the average person. See, Aronson v. Wiersma, 65 NY2d 592, (1985) at 594; see also,

Armstrong v. Simon & Schuster, 85 NY2d 373 (1995) at 380; James v. Gannett Co., 40 NY2d 415

(1976) at 419-420; Ava v. NYP Holdings, Inc., 64 AD3d 407 (2009) at 413. All relevant factors may

be considered in determining whether a word or statement is defamatory. See, Farber v. Jefferys, 33

Misc 3d 1218[A], 2011 NY Slip Op 51966, [Sup Ct, NY County 2011], affd 103 AD3d 514 [1st Dept.

2013], Iv denied 21 NY3d 858, citing, Steinhilber v. Alphonse, 68 NY2d 283, 291-292 [1986], and

courts have considerable discretion in deciding whether a statement is defamatory, guided only by "the

words themselves and their purpose, the circumstances surrounding their use, and the manner, tone

and style with which they are used .... " See, Steinhilber, supra, 68 NY2d at 291-292. While notably,

the New York Court of Appeals has repeatedly held that the New York Constitution provides greater

protection than the United States Constitution and, accordingly that the inquiry under the two

constitutional regimes is different, (see, 600 West JJ5th Street Corp. v. Von Gutfeld, 80 N.Y.2d at 136

& 138, 589 N'y.S.2d at 827 & 829, 603 N.E.2d at 932 & 934 (1992); Immuno AG v. J. Moor-

Jankowski, 77 N.Y.2d at 248-49, 566 N.Y.S.2d at 913-14, 567 N.E.2d at 1277-78 (1991)), the thrust

of the dispositive inquiry under both New York and constitutional law is "whether a reasonable

[person]" could have concluded that there was a conveyance of facts about the plaintiff." See, Gross

v. New York Times Co., 82 N.Y.2d at 153,603 N.Y.S.2d at 817,623 N.E.2d at 1167 (1993); 600 West
                                                                                                    17
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 26 of 38




JJ5 th Street, supra, at 829, 603 N.E.2d at 934 (Under either Federal or State law, the dispositive

question is whether a reasonable person .... could have concluded that [defendant] was conveying facts

about the plaintiff). Clearly a reasonable viewer in this instance would believe that the statements were

conveying facts about the Plaintiff [this is evidenced by the vicious attacks and public outcry for social

justice that continued followed by the Plaintiff's removal from her position as aNew York City

teacher], and would believe that the statements constituted reports of a proceeding, which they did not.

There never was a reporting of any truth, to wit: there was NEVER any proceedings investigating the

Plaintiff for "singling out black students and making them act like slaves;" or telling them to "lie on

the floor for a lesson on slavery and then stepping on their backs to show them what slavery felt like."

THIS ERRONEOUS ACCUSATION WAS NEVER THE SUBJECT OF ANY INQUIRY BY THE

DEPARTMENT OF EDUCATION OR OTHERWISE. It was entirely INACCURATE. See, Freeze

Right Refrigeration &Air Conditioning Services, Inc. v. City of New York, 101 AD2d 175,182. This

was not ever something being investigated by OSI. It was completely ignored that the Plaintiff was

never being accused or investigated of "racist acts." She was being investigated by the DOE for

allegations of corporal punishment. The Defendant evidently preferred his constituents to believe the

false narrative of a "slavery controversy" that they themselves promoted.

The Defendant DID NOT Fairly and Accurately Comment on the Actual Proceedings

       The Plaintiff does allege that the Defendant's statements present inaccurate summaries of the

allegations against her. The Defendant attempts to distract this Court with an analysis of truth or falsity

ofthe underlying allegations; however, he concedes that the ultimate question is whether his statements

truly and fairly report the allegations, and it this case, they clearly did not. The glaring distinctions in

the allegations are clear and disqualify this report from any protections. It is important to also note that

the student that was interviewed by the Defendant, Ben Chapman, and who allegedly reported that the

Plaintiff "singled out black students and made them act like slaves;" told them to "lie on the floor for

a lesson on slavery and then stepped on their backs to show them what slavery felt like." was absent
                                                                                                         18
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 27 of 38




on the day of the lesson in question and could not have possibly witnessed the lesson. Absolutely no

fact checking was done in presenting these erroneous facts to the public. The Defendant disingenuously

argues that he merely commented what had been previously published by the Defendant New York

Daily News and Ben Chapman and others.

        The Plaintiff has plead and proven that Senator Parker's comments addressing the Plaintiff

were made with "gross irresponsibility." The complaint sufficiently alleges that Senator Parker

"knowingly" and intentionally made false statements. On a motion to dismiss, the Court accepts this

assertion as true, considering the additional facts pleaded by the Plaintiff and the glaring fact that the

accusation was not even plausible. See, Pollnow v. Poughkeepsie Newspapers, Inc., 107 A.D.2d 10,

18,486 N.Y.S.2d 11 (2d Dep't 1985) (plaintiff satisfied the "minimum requirements for stating a cause

of action" by alleging that "defendant acted negligently, maliciously and with a reckless disregard for

the truth"), affd, 67 N.Y.2d 778, 492 N.E.2d 125, 501 NY.S.2d 17 (1986). Intentional lies not only

satisfy, but surpass, the culpability of "gross irresponsibility," which signifies "something more than .

. . negligence." See, Mott v. Anheuser-Busch, Inc., 910 F. Supp. 868, 875 (N.D.N.Y. 1994), affd, 112

F.3d 504 (2d Cir. 1996); see also, Mitre Sports Int'l Ltd. v. Home Box Office, Inc., 22 F. Supp. 3d 240,

255 (S.D.N.Y. 2014) (regarding knowing falsities as a level offault "[b]eyond gross irresponsibility");

Lopez v. Univision Commc'ns, Inc., 45 F. Supp. 2d 348,362 (S.D.N.Y. 1999) (observing that at least

one court has equated gross irresponsibility with "gross negligence"). Accordingly, the complaint

sufficiently alleges that Senator Parker acted with the requisite level of fault and it cannot be dismissed

on this basis.

The Statements Describing the Plaintiff and Her Lesson are NOT Opinions

        The privilege protecting the expression of an opinion is rooted in the preference that ideas be

fully aired. See, Davis v. Boeheim, 24 NY3d 262 at 269 (2014), citing, Steinhilber v. Alphonse, 68

NY2d 283 at 289 (1986), and Gertz v. Robert Welch, Inc., supra, 418 US 323, 339-340 (1974).

Nonetheless, privileged statements of opinion are either accompanied by the facts on which they are
                                                                                                        19
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 28 of 38



based, or do not imply that they are based on undisclosed facts. See, Gross v. New York Times Co., 82

NY2d 146 at 53-154 (1993). "When a statement of opinion implies that it is based on unstated facts

that justify the opinion, the opinion becomes an actionable 'mixed opinion. ,,, See, Egiazaryan v.

Zalmayev, 880 FSupp 2d 494, 503 [SD NY 2012], quoting, Steinhilber, supra, 68 NY2d at 289,

"because a reasonable listener or reader would infer that 'the speaker [or writer] knows certain facts,

unknown to [the] audience, which support [the] opinion and are detrimental to the person [toward]

whom [the communication is directed],,' See, Gross, supra, 82 NY2d at 153-154, quoting, Steinhilber,

68 NY2d at 290, and "if the predicate facts are disclosed, but are false, such that the disparity between

the stated facts and the truth would cause a reader to question the opinion's validity," the statement

may be actionable as a "defamatory opinion" See, Enigma Software Grp. USA, LLC v. Bleeping

Computer LLC, F Supp 3d, 2016 WL 3773394, [SD NY 2016], citing Silsdorfv. Levine, 59 NY2d 8,

15-16 [1983], cert denied 464 US 831; see also, Parks v. Steinbrenner, 131 AD2d 60,62-63 [1st Dept.

1987]. An asserted fact may be distinguished from a nonactionable opinion if the statement: (1) has a

precise, readily understood meaning, that is (2) capable of being proven true or false, and (3) where

the full context in which it is asserted or its broader social context and surrounding circumstances

indicate to readers or listeners that it is likely fact, not opinion. See, Davis, supra, 24 NY3d at 271,

citing, Mann v. Abel, 10 NY3d 271 at 276 (2008), and Brian v. Richardson, 87 NY2d 46,51 [1995];

Gross, supra, 82 NY2d at 153; Steinhilber, supra, 68 NY2d at 292. "Where readers would understand

a defamatory meaning, liability cannot be avoided merely because the publication is alleged to be cast

in the form of an opinion, belief, insinuation or even question. A statement about one's attitude is

defamatory if it tends to lower him in the esteem of the community." See, Christopher v. American

News Co., 171 F.2d 275 (7th Cir. 1948).

       "[T]he following factors should be considered in distinguishing fact from opinion: (1) whether

the language used has a precise meaning or whether it is indefinite or ambiguous, (2) whether the

statement is capable of objectively being true or false, and (3) the full context of the entire
                                                                                                      20
            Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 29 of 38




communication or the broader social context surrounding the communication. Moreover, the Court of

Appeals makes a distinction between a statement of opinion that implies a factual basis that is not

disclosed to the reader and an opinion that is accompanied by a recitation of facts on which it is based.

The former is actionable, the latter is not." See, Penn Warranty Corp. v. DiGiovanni, 2005 NY Slip

Op 25449 10 Misc3d 998 (2005). Senator Parker never used words such as "alleged" or "accused of'

when making his statements; he lead the readers to believe the recitation of the facts presented to be

accurate.

       It bears mentioning that Under New York law, some statements are considered defamation

(slander) per se if they "(1) charge plaintiff with a serious crime; (2) tend to injure plaintiff in its

business, trade or profession; (3) [communicate that] plaintiff has some loathsome disease; or (4)

impute unchastity. See, Doe v. Doe, No. 16 Civ. 0332 (NSR), 2017 WL 3025885, (SDNY July 14,

2017) (a statement is per se defamatory when it tends to injure another in his or her trade, business, or

profession) (citing Liberman v. Gelstein, 80 NY2d 429,435 (1992)). Such statements are presumed to

cause injury, so a separate showing of harm is not necessary. Here, the facts as presented by the

Defendant and his request for punishment accuse the Plaintiff of having committed a serious crime;

walking on the backs of students is akin to child abuse and endangerment and the false labeling of the

Plaintiff as a racist oppressor, who committed such an atrocity has irreparably injured the Plaintiff in

her profession as a school teacher and otherwise. The Plaintiff was never accused or investigated on

an allegation of a racist act by the City Department of Education. She was being investigated on

allegations of corporal punishment.

       In this regard, any quotes from the OSI Report would have related to the corporal punishment

allegation, not what had been falsely reported - that she "singled out black students and made them act

like slaves;" told them to "lie on the floor for a lesson on slavery and then stepped on their backs to

show them what slavery felt like." This is an indication that Senator Parker inappropriately grouped the

Plaintiff with other educators of bad character and insensitive to the struggles of others. The Plaintiff
                                                                                                       21
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 30 of 38




was never accused or investigated on an allegation of a racist act by the City Department of Education.

She was being investigated on allegations of corporal punishment. Moreover, it is clear that the Court

in this matter could not fmd that the context of the complained-of statements was such that a reasonable

reader would have concluded that he or she was reading opinions, not facts about the Plaintiff. Thus,

the statements describing the Plaintiffs lesson as "deplorable," attacking her character, and describing

her to be "insensitive to the struggles of others" are actionable.

       The challenged statements are to be read in the context of the statements as a whole. See, Kelly

v. Schmidberger, 806 F.2d 44,46 (2d Cir. 1986). A statement is defamatory "if it tends to expose the

plaintiff to public contempt, ridicule, aversion, or disgrace, or induce an evil opinion of [him] in the

minds of right-thinking persons, and to deprive him of their friendly intercourse in society." See,

Qureshi v. St. Barnabas Hosp. Ctr., 430 F.Supp.2d 279,287 (SDNY 2006). Clearly, the Plaintiffs has

demonstrated the defamatory nature of the Defendant's statements. These statements undoubtedly

exposed the Plaintiff to public contempt, ridicule, aversion, or disgrace, or induce an evil opinion of

her in the minds of right-thinking persons, and to deprive her of her friendly intercourse in society.

This is evident in the demonstrations of hate, ridicule, harassment, and threats of violence which

followed and continued.

        Contrary to Silverman v. Daily News, LP, 129 AD3d 1054 (2 nd Dept. 2015), the Defendant

commented on erroneous facts. There were no allegations from anyone that the Plaintiff "singled out

black students and made them act like slaves;" told them to "lie on the floor for a lesson on slavery

and then stepped on their backs to show them what slavery felt like." Likewise, the Plaintiff contests

that she ever admitted "having misbehaving students sit in the front of the room to demonstrate the

conditions on slave ships, or that a parent reported that she 'pushed her knee' into students' (plural)

backs and asked if students (plural) felt pain." See, Plaintiffs Exhibit B at paragraph 53. How can the

Defendant argue that there was nothing in his statements, which disparage the Plaintiffs professional

skills or competence or attributes wrongdoing to her? The entirety of the quote was a criticism of her

                                                                                                      22
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 31 of 38



skills and competence and falsely accused her of the equivalent of child abuse and/or child

endangerment, to wit:

    •   "Like many others, 1 am completely outraged by the actions of Bronx Middle School 118 teacher, Patricia
        Cummings." See, Defendant's Exhibit A, at page 2.

    •   "1 call for her swift removal from the New York City Department ofEducation, and the revocation ofall New
        York State licenses and credentials that would allow her to teach in our State." See, Defendant's Exhibit A,
        at page 2.

    •   "Although 1 hear some calling for a second chance for Ms. Cummings via culturally competent training and
        the like, as an African studies professor at the City University ofNew Yorkfor over twenty years now, 1 know
        there is no level of training that can make a person more sensitive to the struggles ofanother. Those feelings
        cannot be prepared in one's mind, but rather must be intrinsic to one's character." See, Defendant's Exhibit
        A, at page 2.

    •   "This is not the case for Ms. Cummings and it is my hope that we can learnfrom this deplorable act to inform
        future decisions and the best practices when deciding who will be afforded the honor of teaching our
        children." See, Defendant's Exhibit A, at page 2.

    They are not merely observations or ideas; it is clear that the Court in this matter could not find

that the context of the complained-of statements was such that a reasonable reader would have

concluded that he or she were reading opinions, not facts about the Plaintiff. To describe these

comments as merely setting forth "ideas" and "opinions" is entirely disingenuous. They clearly do

negatively reflect on Plaintiff's reputation as a school teacher and her ability to appropriately determine

the way to present the curriculum to the students. Unquestionably, these statements attribute odious

and despicable characterizations to the Plaintiff. See, Chau v. Lewis, 771 F.3d at 127 (2014). There is

no need to render any interpretation of the challenged comments.

        As stated previously, the Defendant's reliance on Gertz, supra, (418 U.S. 323,471 F.2d 801

(1974)), in this instance is misplaced. The challenged statements were clearly not opinion, entitling the

Senator Parker to Constitutional protection. While it is argued that expressions of opinion receive

absolute constitutional protection under Gertz, supra, determining whether a given statement expresses

fact or opinion may be difficult. The question must be answered on the basis of what the average person

hearing or reading the communication would take it to mean. See, Rinaldi v. Holt, Rinehart & Winston,

supra, atp 381; Mr. Chow ofN Y. v Ste. Jour AzurS.A., 759 F.2d219, 227-228). There is no definitive


                                                                                                                   23
           Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 32 of 38




test or set of criteria. See, Mr. Chow ofN Y. v. Ste. Jour Azur S.A., supra, at pp 225-226. The essential

task is to decide whether the words complained of, considered in the context of the entire

communication and of the circumstances in which they were spoken or written, may be reasonably

understood as implying the assertion of undisclosed facts justifying the opinion. See, Restatement

[Second] of Torts § 566 comment c.

        While the Supreme Court in Gertz, supra, did not focus on the distinction between fact and

opinion, the court, in Letter Carriers v. Austin, (418 U.S. 264 (1974)), decided on the same day as

Gertz, supra, provides some precedent. The court considered both the context of the entire

communication and the type of "intemperate, abusive, or insulting language." @., at p 283). JnLetter

Carriers, supra, it concluded that no reader of the newsletter would have understood the union "to be

charging the appellees with committing the criminal offense of treason." Id., at pp 285, 286; see also,

Greenbelt Pub. Assn. v. Bresler, 398 U.S. 6 (1970). The Courts have taken great pains to avoid any

attempt to reduce the problem of distinguishing fact from opinion to a rigid set of criteria which can

be universally applied. The infInite variety of meanings conveyed by words; depending on the words

themselves and their purpose, the circumstances surrounding their use, and the manner, tone and style

with which they are used, rules out a formulistic approach. A court must have the flexibility to consider

the relevant factors and to accord each the degree of importance which the specific circumstances

warrant.

        Nonetheless, Judge Starr's plurality opinion in Oilman v. Evans, 750 F.2d 970 (1984), sets out

four factors which should generally be considered in differentiating between fact and opinion. The four

factors are: (1) an assessment of whether the specifIc language in issue has a precise meaning which is

readily understood or whether it is indefInite and ambiguous; (2) a determination of whether the

statement is capable of being objectively characterized as true or false; (3) an examination of the full

context of the communication in which the statement appears; and (4) a consideration of the broader

social context or setting surrounding the communication including the existence of any applicable
                                                                                                       24
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 33 of 38



customs or conventions which might "signal to readers or listeners that what is being read or heard is

likely to be opinion, not fact." See, Ollman v. Evans, 750 F.2d 970 (1984) at p 983.

        Consideration of the circumstances and of the broader social context (i.e., the factual

background leading to segment) confirms the conclusion that the broadcast would be taken literally by

the ordinary person. An analysis of the statements made about the Plaintiff in the light of the third and

fourth Oltman factors (the full verbal context of the statement and its broader social context), compels

the conclusion that the statement would not be taken as pure opinion. Further, to be sure, in another

context, the statements made by the Defendant will be viewed as a factual assertion, if considered

under the ftrst and second Oltman factors: whether the statements are sufficiently speciftc to convey

"a precise core of meaning for which a consensus of understanding exists," (see, Oltman v. Evans,

supra, at p 979), and whether it is "capable of being objectively characterized as true or false." See,

Oltman v. Evans, supra, at p 979. Here, the inescapable conclusion from the verbal context of the entire

message and all of the circumstances under which it was delivered is that the statement would be

understood by the ordinary reader for what it is: a defamatory factual assertion, wherein Senator Parker

was falsely asserting as "fact" that the Plaintiff "singled out students and made them act like slaves;"

told them to "lie on thefloor for a lesson on slavery and then stepped on their backs to show them what

slavery felt like." Thus, there is no protection afforded.

Characterization of Someone as a "Racist" or an "Oppressor" is NOT Protected Opinion

        Many courts in other jurisdictions that have faced the issue of defamation claims based on

accusations of bigotry or racism have held the statements to be nonactionable statements of opinion.

See,~,    Stevens v. Tillman, 855 F.2d 394,403 (7th Cir. 1988) (holding that neither general statements

charging a person with being racist, unfair, unjust, nor references to general discriminatory treatment,

without more, constitute provably false assertions of fact); however, claiming that a person made a

particular statement would be a factual assertion, and might well be libelous if false and defamatory

(i.e., if the statement, if made, would reflect badly on the person). In this instance, there were not mere
                                                                                                        25
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 34 of 38




references to general discriminatory treatment. Thus, in this instance, there was a "factual" assertion

that that the Plaintiff "singled out black students in her class and made them act like slaves;" told them

to "lie on the floor for a lesson on slavery and then stepped on their backs to show them what slavery

felt like." This false and defamatory statement reflected badly on the Plaintiff and in conjunction with

the implication of those accusations of bigotry and racism, would remove any purported protection and

render those statements actionable.

                                       POINT III
                     THE PLAINTIFF'S NEGLIGENCE AND EMOTIONAL
                          DISTRESS CLAIMS ARE ACTIONABLE

The Plaintiff's Claims for Negligence and Emotional Distress are Actionable

        With respect to the argument that a separate tort for infliction of emotional distress could not

be sustained where the underlying conduct overlapped with other torts, it has been noted in certain

dicta from the New York Court of Appeals that "questioning whether the doctrine of liability for

intentional infliction of extreme emotional distress should be applicable where the conduct complained

of falls well within the ambit of other traditional tort liability." See, Fischer v. Maloney, 43 N.Y.2d

553, 558, 402 N.Y.S.2d 991, 993, 373 N.E.2d 1215, 1217 (1978). It has been concluded that, even if

New York law does not permit entirely overlapping torts, the negligence and intentional infliction of

emotional distress claims in this case contained elements that did not entirely overlap the claims of

defamation. In particular it is noted that, if a jury believes that Senator Parker acted with reckless intent

a jury could believe that there were additional elements of negligence and intentional infliction of

emotional distress which do not necessarily inhere in a charge of defamation.

        The Defendant further erroneously plead that Plaintiff cannot, as a matter of law, plead

negligent infliction of emotional distress (NIED) or intentional infliction of emotional distress. In order

to support a claim for negligent infliction of emotional distress, Plaintiff is also required to allege

conduct that is "so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized community."
                                                                                                          2b
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 35 of 38




See, Murphy v. Am. Home Products Corp., 58 NY2d 293,303 [1983]. The extreme and outrageous

conduct "must be clearly alleged in order for the complaint to survive a motion to dismiss." See, Sheila

C. v. Povich, 11 AD3d 120, 131 [1st Dept. 2004]. As a claim for negligent infliction of emotional

distress arises out of negligence, Plaintiff must allege that Senator Parker owed Plaintiff a duty and the

breach of that duty owed to the Plaintiff "either unreasonably endangers the plaintiff's physical safety,

or causes the plaintiffto fear for his or her own safety." See, Santana v. Leith, 117 AD3d 711, 712 [2d

Dept. 2014]. Plaintiff has clearly identified the duty owed to her by Senator Parker. In order to qualify

as "extreme and outrageous," the conduct at issue must be so outrageous in character, and so extreme

in degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized community." See, Sheila C. v. Povich, 11 AD3d 120,130-31 (1stDept. 20014).

To falsely accuse the Plaintiff of "singling out black students and making them act like slaves;" telling

them to "lie on the floor for a lesson on slavery and then stepping on their backs to show them what

slavery felt like," without checking the facts and continuing to characterize her under that narrative,

even after confronted with the falsity, subjecting her to public admonishment, ridicule, and harassment

and demanding her termination as aNew York City teacher and revocation of her State teaching license

and credentials is extreme and outrageous. Senator Parker did not merely "make statements about

Plaintiff s conduct based on the existing media coverage" He furthered a false narrative, purporting it

to be undisputed fact.

        The Defendant argues that it is nearly impossible in New York for a Plaintiff to state a viable

claim for intentional infliction of emotional distress, predicating liability on the basis of extreme and

outrageous conduct. Nonetheless, under New York law, the four elements required to state a claim for

intentional infliction of emotional distress are: (i) extreme and outrageous conduct; (ii) intent to cause,

or disregard of substantial probability of causing, severe emotional distress; (iii) a causal connection

between the conduct and the injury; and (iv) severe emotional distress. See, Howell v. New York Post

Co., 81 N.Y.2d 115, 121 (1993). In this case the Plaintiff has established the elements necessary to

                                                                                                        27
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 36 of 38




sustain a claim of intentional infliction of emotional distress, specifically the outrageous conduct and

the Defendant's intent to cause emotion distress. Outrageous conduct is defined to be "so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized community." See, Murphy v. American Home Prods. Corp., 58 N.Y.2d 293,

303,461 N.Y.S.2d 232,448 N.E.2d 86 (1983) [**33] (quoting Restatement (Second] of Torts § 46,

comment d (1979)); see also, Piesco v. City of New York Dep't of Personnel, 753 F. Supp. 468, 479

(S.D.N.Y. 1990), affd in part, rev'd in part and remanded on other grounds, 933 F.2d 1149 (2d Cir.),

cert. denied, U.S., 112 S. Ct. 331 (1991). Here, the actions of the Defendant in promoting a false

account of facts and destroying the Plaintiff s reputation, and inciting others to believe that she would

commit such a heinous act, which ultimately affected her reputation and employment, does constitute,

as a matter ofNew York law, conduct which may be deemed outrageous or beyond the possible bounds

decency. Accordingly, the Plaintiff has adequately alleged outrageous conduct necessary to sustain this

claim.

The Complaint Sufficiently States a Claim for Negligence, Negligent Infliction of Emotional
Distress, and Intentional Infliction of Emotional Distress

         To establish a cause of action in negligence, a plaintiff must demonstrate the existence of a

duty, a breach of that duty, causation, and damages. See, Chylinski v. Wal-Mart Stores, Inc., 150 F.3d

214, 218 (2d Cir. 1998). Based on what has been demonstrated in this matter, the Defendant's argument

that "defamation claims (that involve matters of public concern) cannot be sustained upon a showing

of negligence" must fail. The Plaintiff has more than established not only that the statements were false

statements of fact, but that the Defendant acted in a "grossly irresponsible manner without due

consideration for the standards of information gathering and dissemination ordinarily followed by

responsible parties." See, Chapadeau v. Utica Observer-Dispatch, 38 NY2d 196, 199 (1975); see also,

Bloom v. Fox News of LA, 528 F. Supp. 2d 69, (EDNY 2007). As a result, the Plaintiffs negligence

claim must stand.


                                                                                                      28
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 37 of 38



        Further, the Plaintiff alleges that Defendant inflicted emotional distress both intentionally and

negligently. See, Plaintiffs Exhibit C. To state a claim for negligent infliction of emotional distress

("NIED") in New York, a plaintiff must allege: "(1) extreme and outrageous conduct, (2) a causal

connection between the conduct and the injury, and (3) severe emotional distress." See, Green v. City

ofMount Vernon, 96 F. Supp. 3d 263,297-98 (S.D.N.Y. 2015) (citation and internal quotation marks

omitted). Intentional infliction of emotional distress ("lIED") claims require a plaintiff to allege the

same elements as an NIED claim together with the additional requirement that the defendant must have

an "intent to cause, or reckless disregard of a substantial probability of causing, severe emotional

distress." See, Conboyv. AT&T Corp., 241 F.3d 242,258 (2d Cir. 2001) (citation and internal quotation

marks omitted). The basis for Plaintiffs NIED claim is clear from the face of the Complaint. To the

extent her NIED claim is based on the same conduct as her lIED claim, both claims can be sustained.

ld.

        The Fourth Department has held that a cause of action for negligent infliction of emotional

distress must be "premised on conduct that unreasonably endangers the plaintiffs physical safety or

causes the plaintiff to fear for his or her physical safety." See, Passucci v. Home Depot, Inc., 67 AD3d

1470, 1471 [4th Dept. 2009]. In this regard, the Plaintiffs complaint contains allegations that the

Defendant engaged in conduct that unreasonably endangered the Plaintiffs physical safety or caused

her to fear for her safety. See, Plaintiffs Exhibit C, at pages 15 and 45. Second, the Plaintiff has plead

sufficient facts to allege that the Defendant intended to cause her severe emotional distress or such

disregard which has the probability of causing severe emotional distress. The Defendant was selfishly

pursuing his own interests and inciting his audience at the Plaintiff s expense without considering the

plausibility of the statements being made or verifying the facts.

        To support an emotional distress claim, the alleged conduct "must be so outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of decency, and to be regarded

as atrocious, and utterly intolerable in a civilized society." See, Conboy, supra, 241 F.3d at 258 (citation

                                                                                                         29
          Case 1:19-cv-07723-CM Document 91 Filed 12/20/19 Page 38 of 38




and internal quotation marks omitted). The Defendant failed to ever demonstrate that his statements

were true, and it is a well-known fact that truth and only truth is an absolute defense in any defamation

claim. Senator Parker evidently never contacted any school officials, nor did he verify what Defendants

Ben Chapman and the New York Daily News were allegedly told by the student, or even realize that

the student he allegedly spoke to was absent the day the lesson was taught. Had he done this, he would

have known the actual allegation made against the Plaintiff. Further, plausibility was completely

ignored, to wit: if the Plaintiff had in fact walked on student's backs, would they not have sustained

physical injuries? Would she not have been arrested or charged with child abuse? It should have been

obvious that this allegation was preposterous; however this gross distortion helped him fuel the need

for cultural competence in the schools and appease the mass of protesters and assisted the Department

of Education in securing the funding that it so desperately desired. As a result, the Plaintiff's claims

for negligence, negligent infliction of emotional distress, and intentional infliction of emotional distress

must stand.

                                             CONCLUSION

        Based on the foregoing, it has been demonstrated that Senator Parker have failed to meet the

standard in this Circuit that is necessary on a Motion for Judgment on the Pleadings under Rule 12 (c).

Accordingly, the Defendant's motion should be denied in all respects and Plaintiff should have such

other and further relief that this Court may deem just and proper.

Dated: Garden City, New York
       December 19, 2019



                                            TH    AW OFFICE OF T           . F. LIOTTI, LLC
                                            By: Thomas F. Liotti, Esq. (TL 4471)
                                            Attorneys for the Plaintiff
                                            PATRICIA CUMMINGS




                                                                                                         30
